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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN


STEVEN BALL,

       Plaintiff,
v.                                                             Hon. Jane M. Beckering

MARY JO ROBINSON,                                              Case No. 1:23-cv-00649

       Defendant.


                                          ORDER

       This matter is before the Court on Plaintiff Steven Ball's Motion for Entry of Default

Judgment. (ECF No. 46.) An evidentiary hearing was held on April 23, 2024. The parties may

submit supplemental briefing within 14 days.

       IT IS SO ORDERED.

Dated: April 23, 2024                                     /s/ Sally J. Berens
                                                         SALLY J. BERENS
                                                         U.S. Magistrate Judge
